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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF RHODE ISLAND


 JOHN DOE,
                           Plaintiff,

 v.                                                              C.A. NO.: 18-106-MSM-LDA

 JOHNSON & WALES UNIVERSITY,
                Defendant.


              DEFENDANT JOHNSON & WALES UNIVERSITY’S
  MOTION FOR RECONSIDERATION OR, IN THE ALTERNATIVE, CLARIFICATION

            Defendant Johnson & Wales University (“JWU”) respectfully moves for the Court’s

 reconsideration or, in the alternative, clarification of its Memorandum and Order entered on

 November 26, 2019 (Doc. No. 72), as to its denial of JWU’s motion for summary judgment

 regarding Counts I and II of Plaintiff’s Complaint (respectively, Plaintiff’s claims for Breach of

 Contract and Breach of the Implied Covenant of Good Faith and Fair Dealing). JWU has filed a

 memorandum of law in support of this motion.

            Pursuant to Local Rule Cv. 7(c), JWU requests that the Court hold a hearing to receive oral

 argument on this motion. JWU estimates that the hearing will require approximately sixty (60)

 minutes of the Court’s time.

                                                         JOHNSON & WALES UNIVERSITY

                                                         By its Attorneys,

                                                         /s/ Jeremy Licht
                                                         Jeremy Licht (#9518)
                                                         Johnson & Wales University
                                                         8 Abbott Park Place
                                                         Providence, RI 02903
                                                         Tel: (401) 598-1027
                                                         Fax: (401) 598-2240
                                                         jeremy.licht@jwu.edu


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                                                     /s/ Steven M. Richard
                                                     Steven M. Richard (#4403)
                                                     Jeffrey S. Brenner (#4539)
                                                     Nixon Peabody LLP
                                                     One Citizens Plaza, Suite 500
                                                     Providence, RI 02903
                                                     Tel: (401) 454-1020
                                                     Fax: (401) 454-1030
                                                     srichard@nixonpeabody.com
                                                     jbrenner@nixonpeabody.com


 Dated: December 20, 2019

                                  CERTIFICATE OF SERVICE

        I certify that on, December 20, 2019, this motion was filed and served electronically
 through the Court’s CM/ECF system.



                                                     /s/ Steven M. Richard




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